IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA

CHRISTINE BIROS, an individual,
Plaintiff,
VS.

U LOCK, INC., a Pennsylvania
corporation,

Defendant.

Thereby certify that the actual location of

the parcel of real property is in the
Township of North Huntingdon, County of

Westmoreland, Commonwealth of
Pennsylvania and known as Tax Map No.

54-03-10-0-103.

William E. Otto, Esq.
Counsel for Plaintiff

CIVIL DIVISION

No. 17CJ04886

PETITION TO STAY TAX SALE

LIS PENDENS

Filed on Behalf of Plaintiff,
Christine Biros

Counsel of Record for this Party:
William E. Otto, Esq.
PA LD, #32716
P.O. Box 701
Murrysville, PA 15668
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PENNSYLVANIA

CHRISTINE BIROS, an individual, CIVIL DIVISION

Plaintiff, No. 17CJ04886

VS.

U LOCK, INC., a Pennsylvania PETITION TO STAY TAX SALE
corporation,

Defendant.

LIS PENDENS

PETITION TO STAY TAX SALE

Petitioner/Plaintiff Christine Biros, by and through her attorney, William E. Otto, Esq.,
petitions this Honorable Court stay tax sale, and for the following reasons, states:

1. On or about October 4, 2017, a Complaint in Civil Action for Declaratory
Judgment and Equitable Action to Convey Title, to Quiet Title and for an Accounting (the
“Complaint’”) was filed with the Prothonotary of Westmoreland County against Denise Schur,
Executrix of the Estate of Alex Schur, Henry L. Moore and Susan Stano, Co-Executors of the
Bstate of Nicholas Schur, Kathleen 8. Walter, Executor of the Estate of Michael Schur, Cynthia
Sarris, Administrator of the Estate of Ann Sarris (such parties collectively, the “Defendant
Owners” or “Owners”) and Defendant U Lock. The Defendant Owners have all been dismissed
from this case.

2. The Complaint concerned the purported sale to Defendant U Lock on July 16,
2015 (the “Payment Date”) of that certain real property situate at 14140 Route 30, North
Huntingdon, PA 15642 with a County Tax Map No. 54-03-10-0-103 (the “Property’’).

3. The Property has now been listed by the Tax Claim Office of Westmoreland

County for exposure to tax sale on September 12, 2022.
4, According to the Tax Claim Office, taxes have not been paid on the Property for
at least two (2) years.

5. On March 16, 2022, the Pennsylvania Supreme Court issued an Order directing
Defendant U Lock to pay property taxes on the Property during the pendency of Defendant U
Lock’s occupancy of the Property.

6. On April 27, 2022, an Involuntary Chapter 7 Bankruptcy Petition was filed
against Defendant U Lock, staying action by Plaintiff Christine Biros to obtain possession of the
Property. A Chapter 7 Trustee, Robert Slone, Esq. has been appointed, with full authority over
the actions of Defendant U Lock.

7. As of the date of this Petition, Defendant U Lock remains in possession of the
Property.

8. Staying the tax sale will preserve the status quo of the Property until the U.S.
Bankruptcy Court can make a decision as to the payment of the taxes on the Property.

9. Exposing the Property to tax sale at this time, with the possible purchase of the
Property by a third party, will only more complicate a case which is already sufficiently
complicated.

10. The Chapter 7 Trustee, Robert Slone, Esq., for Defendant U Lock has consented
to the shortened notice period and the presentation of this Petition as an uncontested petition.

WHEREFORE, Petitioner/Plaintiff Christine Biros respectfully requests this Honorable
Court to direct the Tax Claim Office of Westmoreland County to stay the tax sale of the Property
and remove it from the tax sale list for September 12, 2022.

Respectfully submitted,

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William E. Otto, Esq., Counsel for Plaintiff
CERTIFICATE OF SERVICE

The undersigned counsel hereby certifies that a true and correct copy of the foregoing
PETITION TO STAY TAX SALE was served upon the following via email and by First Class
Mail, postage prepaid, on the / 3 th day of August, 2022:

Robert H. Slone, Esq.
MAHADY & MAHADY
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Greensburg, PA 15601

robertslone223(@gmail.com
(Trustee for U Lock, Inc.)

 

J. Allen Roth, Esq.
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Suite B
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(Counsel for U Lock, Inc.)

William E. Otto, Esq.
Counsel for Plaintiff
